
USCA1 Opinion

	













                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 95-1889
                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                 CHARLES ROGERS, JR.

                                Defendant, Appellant.

                                 ____________________
        No. 96-2032
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                  ANDREW J. BEAGAN,
                                Defendant, Appellant.
                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________
                                 ____________________
                                        Before

                           Selya and Lynch, Circuit Judges,
                                            ______________
                         and Pollak, Senior District Judge.*
                                     _____________________
                                 ____________________

            Robert D. Watt, with  whom Frederick Q. Watt  and Brian J.  Sylvia
            ______________             _________________      ________________
        were on brief, for appellant Charles Rogers, Jr.
            Mark J. Gardner for appellant Andrew J. Beagan.
            _______________
            Stephanie S.  Browne, Assistant  U.S. Attorney, with  whom Sheldon
            ____________________                                       _______
        Whitehouse, U.S. Attorney, was on brief, for appellee.
        __________
                                 ____________________

                                   August 26, 1997
                                 ____________________





                            
        ____________________

        *Of the Eastern District of Pennsylvania, sitting by designation.















                      LYNCH, Circuit  Judge. A sting  operation involving
                      LYNCH, Circuit  Judge.
                             ______________

            cocaine led to the arrests  and convictions of Charles Rogers

            and Andrew Beagan.  They, along with two others, were charged

            with conspiracy to  distribute and to possess  with intent to

            distribute over five kilograms of cocaine in violation  of 21

            U.S.C.    846, and attempt to  distribute and to possess with

            intent  to distribute  over  five  kilograms  of  cocaine  in

            violation of 21 U.S.C.    841(a)(1).  Rogers and Beagan  both

            raise numerous  challenges to  their convictions.   The  most

            substantial of these  is Rogers' sufficiency of  the evidence

            claim.    Beagan's  claims  revolve  around  his  defense  of

            entrapment.  We affirm.

                                          I.

                      During  the Fall of 1994, members of the Providence

            Police  Department  met  with Ronald  Rego,  an  informer, to

            discuss a drug sting.   Agreement was reached that Rego would

            receive   10%  from  a drug  sting.   In  return, Rego  would

            arrange a  meeting between  Detective Fred  Rocha and  Andrew

            Beagan,  a codefendant here.  Detective Rocha would arrange a

            cocaine  sale to  Beagan and arrest  him at  the time  of the

            sale.

                      On  November 16,  1994,  Rego  introduced Rocha  to

            Beagan.  The meeting was tape recorded.  Rocha claimed he was

            a  large-scale cocaine  dealer and  Beagan  indicated he  was

            interested  in  buying  as  much  as  25  kilograms.    Other



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            telephone  conversations and  meetings  took  place in  early

            December.   Some of  these were recorded.   Rocha  and Beagan

            agreed on a December 12 sale date.

                      Beagan  and Rocha  met on  that day.   Beagan  told

            Rocha that "his people" did not want to carry all their money

            at  once, so  Beagan and  Rocha agreed  they would  split the

            transaction  into two parts.   Rocha  would first  deliver 10

            kilograms  of cocaine  and  Beagan would  pay.   If  Beagan's

            people liked  the quality,  then the  remaining 15  kilograms

            would be exchanged.

                      Beagan  and Rocha  worked out  the  details of  the

            exchange on  the telephone.   Rocha was to call  Beagan later

            that day  to tell him where to bring  the "drop car" in which

            the cocaine was to be loaded.   Rocha would then pick up  the

            drop  car, load it with 10 kilograms of cocaine and drive the

            car to an undisclosed location.  Beagan would meet Rocha at a

            third location to show Rocha  the money for the 10 kilograms.

            Once Rocha saw the money,  he would tell Beagan where  he had

            left the  drop car.  Beagan's  people would pick up  the drop

            car, and,  if they  were satisfied  with the  cocaine, Beagan

            would release the money to  Rocha.  If Beagan's people wanted

            to buy the remaining  15 kilograms, they would have to  do so

            within the hour.

                      As  planned, Beagan called  Rocha to tell  him that

            the drop car,  a white Taurus, was in  the University Heights



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            parking  lot in Providence.  Rocha and another police officer

            picked up the car, which had been rented by David Scialo (the

            third codefendant in the case).  The rental agreement  listed

            Rogers as the second driver.

                      The  police  officers   loaded  into  the   car  25

            kilograms of  oatmeal packaged  to look  like cocaine.   They

            moved  the car  to  the  parking  lot  of  a  ball  field  in

            Providence.   Rocha called Beagan  and told him to  bring the

            money  to the  India Point  Days Inn  in Providence.   Beagan

            arrived at the  motel parking lot around 4  p.m., accompanied

            by the final  codefendant in the case, Ruben  DeLeon.  DeLeon

            was carrying a  black bag.  Rocha saw  that the bag contained

            bundles of money.

                      Beagan  handed Rocha  a  cellular telephone  (which

            belonged  to  Scialo)  so  that  Rocha  could  tell  Beagan's

            confederate  at the  other end  of the  line where  the drugs

            were.   However,  the line  went  dead.   Beagan plugged  the

            telephone into  an outlet in  his car and the  telephone soon

            rang.  Beagan handed the phone  to Rocha, who told the caller

            that the drop car was parked at the ball field parking lot at

            Power   Street  in  Providence.    Rocha  then  returned  the

            telephone to  Beagan, who remained  on the line until  he was

            arrested.

                      Officers who were stationed near the ball field saw

            a green  Toyota pull  up next to  the drop  car.   Rogers was



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            driving; Scialo and  one other were passengers.   The car was

            rented to Scialo.   Scialo  got out of  the Toyota, into  the

            drop  car and  began to  drive away,  following Rogers.   Two

            officers saw that Rogers was  holding a cellular phone to his

            ear.   The  authorities  stopped the  two  cars and  arrested

            Rogers and Scialo.1

                      Soon afterwards,  FBI agents and  Providence police

            arrested  Beagan  and  DeLeon at  the  Days  Inn.   Telephone

            records established that  around 4 p.m.(the approximate  time

            that Rocha spoke to Beagan's confederate on the telephone and

            told him  where to find  the drop car), the  telephone Rogers

            was holding was  used to twice call the  telephone Beagan was

            holding.

            Procedural History
            __________________

                      The four codefendants -- Rogers, Beagan, Scialo and

            DeLeon --  were charged and  tried before  a jury on  the two

            drug trafficking  counts.  At  the close of  the government's

            case, Rogers moved for a judgment of acquittal as well as for

            a  mistrial based on  an allegedly improper  statement by the

            prosecutor in his  opening.  The prosecutor had  said that he

            would show that Rocha had  spoken on the telephone to someone

            named  Chuck during  the drug  deal.   No  such evidence  was

            admitted at  trial.  The  district court denied  the motions,


                                
            ____________________

            1.  They also arrested  the other passenger in  the car, Juan
            Toribio, but he later was released.

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            stating  that defense counsel could argue in closing that the

            government had failed to produce promised evidence.

                      After beginning  deliberations, the  jury requested

            that the  court instruct  them once again  on the  meaning of

            predisposition.   The court did  so.  Beagan objected  to the

            instruction,  asking  that   the  jurors  be  told   that  in

            considering  whether he was predisposed to commit the charged

            crimes, they  might only consider  his behavior prior  to his

            contact with the  government agents.   The court declined  to

            give  the additional instruction.   The jury  returned to its

            deliberations, and Beagan, Rogers and DeLeon2 were  convicted

            on the two drug trafficking charges.  Scialo was acquitted.

                      Beagan and  Rogers moved for  a new trial,  each on

            different  grounds.   Rogers  argued  that  the  verdict  was

            against the weight  of the evidence and that  there was newly

            discovered evidence, in the form of Scialo's testimony, which

            would exculpate  Rogers.   The district  court ruled  against

            him.

                      Beagan  moved for a  new trial on  several grounds,

            only one  of which  warrants discussion:  his claim  of juror

            misconduct.  Beagan  filed an affidavit from  Matthew Beagan,

            Jr.,  his brother,  alleging that  after  the trial,  Matthew

            Beagan had spoken  to one of the jurors,  who stated that the


                                
            ____________________

            2.  DeLeon  has petitioned for  habeas relief,  claiming that
            his attorney failed to file and perfect his appeal.

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            jury had  been very  confused about the  meaning of  the term

            "predisposition"  and that some  of the jurors  had consulted

            dictionaries.  The court called  in the juror to whom Matthew

            Beagan had spoken, as well as one other juror, and questioned

            them regarding their  post-trial contact with  Matthew Beagan

            and the use of dictionaries  by jurors.  The questioning took

            place  in the  presence of  counsel  for all  the parties  in

            interest.    After  meticulous   inquiry,  the  court  denied

            Beagan's  motion for  a new  trial.   It found  that although

            there had  been juror misconduct  in that at least  one juror

            had  consulted a dictionary  on the term  predisposition, the

            conduct was  not prejudicial  to Beagan  because it  occurred

            prior  to  the  time the  jurors  requested  additional legal

            instruction on the legal definition of the term.

                      Rogers was  sentenced to  78 months'  imprisonment.

            Beagan was  subject  to a  statutory minimum  of 240  months'

            imprisonment.

                                         II.

            Rogers
            ______

                      Rogers'   primary   claim   is   that   there   was

            insufficient   evidence  to  convict  him  on  the  two  drug

            trafficking counts.  He argues  that he was merely present at

            the scene of the crime and  that there is no evidence of  his

            actual involvement.





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                      The    case    against   Rogers    is    admittedly

            circumstantial and requires  some inferences.  We  review the

            facts in  the light  most favorable to  the verdict.   United
                                                                   ______

            States v. Montas, 41 F.3d 775, 778 (1st Cir. 1994).   Seen in
            ______    ______

            this light,  the evidence  is sufficient  to support  Rogers'

            convictions on both counts.

                      It is true, as Rogers argues, that mere presence at

            the scene  of a  crime is  insufficient  to establish  guilt.

            However, this court has distinguished between "mere" presence

            and "culpable" presence.   A defendant's presence  during the

            commission  of  a   crime  can  establish  guilt   where  the

            surrounding circumstances imply participation.  United States
                                                            _____________

            v.  Montilla-Rivera, 115  F.3d 1060,  1064  (1st Cir.  1997);
                _______________

            United States  v. Paulino,  13 F.3d 20,  25 (1st  Cir. 1994);
            _____________     _______

            United States v. Ortiz, 966 F.2d 707, 711-12 (1st Cir. 1992).
            _____________    _____

            Such is the case here.

                      It  was Rogers  who drove  Scialo  to the  baseball

            field to  pick up  the drop  car and  who was  listed as  the

            second driver in  the rental agreement.   Most significantly,

            it was Rogers who was observed talking on a cellular phone in

            the middle of the  drug deal.  Records place his  call to the

            cellular  phone Beagan  was  using.   Rogers  was not  merely

            present, he was  talking on a cellular telephone  with one of

            the  conspirators while  the deal  was in  progress.   A jury

            could  reasonably find that Rogers was discussing the cocaine



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            sale, was a  knowing participant in the drug  conspiracy, see
                                                                      ___

            United  States v.  Piper, 35  F.3d 611,  615 (1st  Cir. 1994)
            ______________     _____

            (defining  conspiracy),  and knowingly  attempted  to possess

            cocaine with  the intent  to distribute  it, see  Paulino, 13
                                                         ___  _______

            F.3d at 25.3

                      Rogers' claim that he should be granted a new trial

            because  his   conviction  was  inconsistent   with  Scialo's

            acquittal also fails.   Rogers' argument essentially  is that

            there  was more  evidence  of  Scialo's  involvement  in  the

            conspiracy than of his own,  and that the jury's acquittal of

            Scialo  shows that there was insufficient evidence to convict

            Rogers.  To the extent  that Rogers has preserved this claim,

            it is without merit.

                      A not guilty verdict  against one co-conspirator is

            not  the  equivalent of  a  finding  that  the  evidence  was

            insufficient to sustain the conspiracy conviction of a second

            co-conspirator.   United States  v. Bucuvalas, 909  F.2d 593,
                              _____________     _________

            595-97 (1st  Cir. 1990).   If the  reviewing court  finds the

            evidence  was sufficient to  support the verdict  against the

            convicted defendant,  the conviction  must stand despite  the

            co-conspirator's   acquittal.     Id.     The  evidence   was
                                              ___

            sufficient.

                                
            ____________________

            3.  Rogers' citation to United States v. Thomas, 114 F.3d 403
                                    _____________    ______
            (3d   Cir.  1997),  provides  him  no  comfort.    Thomas  is
                                                               ______
            distinguishable on its  facts: unlike this  case, it did  not
            involve telephone  calls between  the defendant  and a  known
            conspirator while a drug deal was in progress.

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                      Rogers also argues that the district court erred in

            denying his motion  for a mistrial based  on the prosecutor's

            opening  statement.    The  prosecutor  referred  to  someone

            identified  as  Chuck  as being  on  the  telephone receiving

            instructions from Rocha at the time of the drug deal (Rogers'

            given name  is Charles).   When  the prosecutor attempted  to

            elicit testimony from Rocha concerning that conversation, the

            court ruled the  evidence inadmissible.  Rogers  argues that,

            given the importance  of whether  he spoke  on the  telephone

            with Rocha and Beagan during  the drug deal, the court should

            have granted a mistrial.  We disagree.

                      Rocha   appropriately    has   not    claimed   the

            prosecutor's reference  during his opening statement was made

            in  bad faith  to  mislead  the jury.    In closing,  defense

            counsel  argued that there was  no evidence linking Rogers to

            the telephone  call during the  drug deal.  And  the district

            court  charged the jury  that statements by  counsel argument

            are not  evidence.  The district court did not err in denying

            the motion for a mistrial.  See United States v. D'Alora, 585
                                        ___ _____________    _______

            F.2d 16, 21  (1st Cir. 1978) ("[A] defendant  is not entitled

            to  two  trials,   one  before  the   judge  to  filter   out

            inadmissible  evidence and  then a  jury  trial to  determine

            guilt or innocence.")

                      Nor  did the court abuse its discretion in refusing

            to grant  Rogers' motion for  a severance.  Such  motions are



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            only to  be granted  where the defendant  makes out  a strong

            showing   of  prejudice;  a  defendant  is  not  entitled  to

            severance  merely  because he  may  have a  better  chance of

            acquittal if tried separately.   Zafiro v. United States, 506
                                             ______    _____________

            U.S. 534, 540 (1993).  A  district court's decision to deny a

            motion  for  severance  is  accorded  significant  deference.

            United States v. O'Bryant, 998 F.2d 21, 25 (1st Cir. 1993).
            _____________    ________

                      Rogers has not  presented any reason why  this case

            is  different from most  drug conspiracy cases  with multiple

            defendants  involved in the  conspiracy to differing degrees,

            and  co-conspirators generally  are  tried together.   United
                                                                   ______

            States  v.  Perkins, 926  F.2d  1271, 1280  (1st  Cir. 1991).
            ______      _______

            Contrary to Rogers' claim, his  defense and Beagan's were not

            antagonistic,  merely different.   Beagan argued that  he was

            entrapped, Rogers  that he  was merely  present at the  crime

            scene.   These two theories  of the case are  not necessarily

            inconsistent.  The district court scrupulously instructed the

            jurors that they must consider the evidence as to each charge

            and each defendant  separately.  The court did  not abuse its

            discretion in refusing to sever.

            Beagan
            ______

                      Beagan's sole defense at trial and focus on appeal4

                                
            ____________________

            4.  Beagan's  only unrelated argument is that  a new trial is
            warranted  because  the district  court never  instructed the
            jury  to ignore  a drug  rally outside  the  courthouse. This
            issue has been  waived.  Beagan's counsel  requested that the
            court recess  until the  drug rally was  over, and  the court

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            was  that he  was entrapped.   Beagan  first argues  that the

            district  court's  instruction  on  entrapment  was   legally

            incorrect.  Specifically,  he argues that the  district court

            should  have  instructed  the jury  that  the  government was

            required  to prove his  predisposition to commit  the charged

            crime based on  evidence that predated  his contact with  the

            government.  This is not a correct statement of the law.   It

            is  true  that,  when   a  defendant  raises  a  defense   of

            entrapment,  the government must show that he was predisposed

            to commit  the  charged  crime  prior  to  his  contact  with

            government  agents;  however,  the  government  may  use  the

            defendant's  behavior after  he was approached  by government

            agents as evidence of his predisposition prior to meeting the

            agents.  See, e.g., United States v. Acosta, 67 F.3d 334, 339
                     _________  _____________    ______

            (1st Cir. 1995).

                      Beagan  next argues that  he is  entitled to  a new

            trial because jurors impermissibly used extrinsic material (a

            dictionary)   to  understand   the   meaning  of   the   term

            "predisposition."   Where,  as  here,  a  defendant  makes  a

            colorable  claim of juror misconduct, the district court must

                                
            ____________________

            agreed.   No  request was  made  at the  time for  a specific
            curative instruction.  Beagan cannot now claim he is entitled
            to  a  new   trial  because  he  did  not   receive  such  an
            instruction.  United States v.  Coady, 809 F.2d 119, 123 (1st
                          _____________     _____
            Cir. 1987).   Furthermore, the court repeatedly  reminded the
            jury to refrain  from considering anything heard  outside the
            courtroom, which  likely made a specific curative instruction
            unnecessary.


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            determine  whether any  misconduct has  occurred  and if  so,

            whether it  was prejudicial.   United  States v.  Boylan, 898
                                           ______________     ______

            F.2d  230, 258  (1st  Cir.  1990).   We  review the  district

            court's refusal to grant a new trial for abuse of discretion.

            Id. at 262; see also United States v. Cheyenne, 855 F.2d 566,
            ___         ________ _____________    ________

            568 (8th Cir.  1988) (giving "substantial weight to the trial

            court's appraisal  of the  prejudicial effects  of extraneous

            information  on  the  jury, since  the  trial  judge  has the

            advantages of close observation of the jurors and familiarity

            with the issues at trial").

                      Here,    Judge    Boyle   acted    carefully    and

            conscientiously in  response  to  the  allegations  of  juror

            misconduct.  The court questioned the two jurors most closely

            involved.  It determined that although at least one juror had

            referred  to  a  dictionary to  determine  the  definition of

            predisposition,  this occurred  before the  jury  as a  whole

            sought  additional instruction on  the legal  definition from

            the court.  The court concluded that whatever use was made of

            the dictionary,  the jurors  had been  unsatisfied that  they

            understood  the legal import  of the term  predisposition and

            had properly  turned to  the court  for further  instruction.

            The   court  concluded  that  any  misconduct  had  not  been

            prejudicial because of the court's  additional instruction on

            the legal meaning of predisposition.





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                      There  was no abuse  of discretion.   To the extent

            that the jurors'  consulting the dictionary was  misconduct,5

            we agree with  the district court that any  potential harm to

            the  defendant was cured by the subsequent legal instructions

            on predisposition.

                      Beagan's  final  claim  is   that  he  was   denied

            effective  assistance of  counsel at  trial.   Trial  counsel

            introduced  evidence concerning  Beagan's character,  opening

            the door to  evidence of  Beagan's 1991  drug conviction  and

            thereby,  according  to   Beagan,  totally  undercutting  the

            entrapment defense.   In accordance with our  usual practice,

            we  will not  consider a  claim  made for  the first  time on

            direct appeal.  See, e.g., United States v. Springer, 28 F.3d
                            _________  _____________    ________

            236, 239 (1st Cir. 1994); United States v. Mala, 7 F.3d 1058,
                                      _____________    ____

            1063  (1st Cir.  1993).   Determining  whether assistance  of

            counsel  was  constitutionally   deficient  is  a  fact-bound

            inquiry  that would  require us  to go  beyond the  record on

            appeal and consider such matters as trial counsel's strategy.

            See Springer, 28 F.3d at 239; Mala, 7 F.3d at 1063.
            ___ ________                  ____

                      Affirmed.
                      _________



                                
            ____________________

            5.  Courts that have considered the issue of juror dictionary
            use have not generally considered such  use to be prejudicial
            per  se.  See,  e.g., United States v.  Turner, 936 F.2d 221,
                      __________  _____________     ______
            226-27 (6th Cir.  1991); United States v. Cheyenne,  855 F.2d
                                     _____________    ________
            566, 567-68 (8th Cir. 1988).  This circuit has not yet passed
            on  the  issue  of  whether a  juror's  dictionary  use  even
            constitutes misconduct, and we have no need to do so here.

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